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 1   WILLIAM A. WEINISCHKE
     Bill.weinischke@usdoj.gov
 2
     Senior Attorney
 3   Environmental Enforcement Section
 4   Environment & Natural Resources Division
     United States Department of Justice
 5   MS State Bar No. 7082
 6   4 Constitution Square
     150 M Street, N.W., Suite 2.900
 7
     Washington, D.C. 20002
 8   Telephone: (202) 514-4592
 9   Telefax:    (202) 514-2583
10   NICOLA T. HANNA
11   United States Attorney for the
     Central District of California
12   Attorneys for the United States of America
13
14                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
16   UNITED STATES OF AMERICA, et al., )          Civil No: CV 91-0589 (CJC)
                                       )          UNITED STATES’
17            Plaintiff,               )          MEMORANDUM OF POINTS
18                                     )          AND AUTHORITIES IN
     v.                                )          SUPPORT OF ITS MOTION
19
                                       )          FOR PARTIAL SUMMARY
20   SHELL OIL COMPANY, et al.,        )          JUDGMENT AS TO THE
21                                     )          AMOUNT OF RECOVERABLE
              Defendants.              )          RESPONSE COSTS
22                                     )
23                                     )          Date: August 10, 2020
                                       )          Time: 1:30 p.m.
24
                                       )          Honorable Cormac J. Carney
25                                     )          Courtroom: 7C, First Street
26                                     )                      Court House
                                       )
27                                     )
28
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                                                                 v
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 1                                  I. INTRODUCTION
 2         On September 28, 1993, this Court granted the United States and State of
 3   California’s Motion for Summary Judgment and thereby held Shell Oil Company,
 4
     Union Oil Company of California, Atlantic Richfield Company, and Texaco, Inc.
 5
     (“Defendants”) liable under Section 107(a) of the Comprehensive Environmental
 6
 7   Response, Compensation, and Liability Act (“CERCLA”), 42 U.S.C. § 9607(a), for
 8   the costs of response actions at the McColl Superfund Site (“Site” or “McColl
 9   Site”) in Fullerton, California. United States v. Shell Oil Co., 841 F. Supp. 962,
10   975 (C.D. Cal. 1993), aff’d, 294 F.3d 1045 (9th Cir. 2002). With Defendants’
11
     liability established, the Court held that “all that remains to the cost recovery phase
12
     of this litigation is the Court’s determination whether the governments’ response
13
14   costs are consistent with the [National Contingency Plan].” Id. at 975. Following

15   that ruling, the Parties agreed that the Court’s 1993 judgment and order constituted
16   a declaratory judgment pursuant to CERCLA Section 113(g)(2) in favor of the
17   United States (and State) against the Defendants for Ongoing Response Costs.
18
     Docket No. 270 ¶ 10 (“1994 Consent Decree”).
19
           The United States Environmental Protection Agency (“EPA”) and the
20
21   Department of Justice (“DOJ”) have performed response actions and incurred costs

22   in response to the release or threatened release of hazardous substances from the
23   McColl Site. The United States has unrecovered response costs in the amount of
24   $53,122,779.54, of which the United States is currently seeking $49,861,337.62
25                     1
     from Defendants. By this motion, the United States seeks summary judgment
26
27
     1
       This motion pertains to response activities generally speaking after 1990. Under
28
     the 1994 Consent Decree, the Defendants paid the United States and the State $18
                                               1
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 1
     regarding the amount of response costs, plus prejudgment interest that it is entitled
 2
     to recover. As the attached Declarations, Exhibits, Cost Summary, and Statement
 3
 4   of Uncontroverted Facts make clear, the United States has undertaken response

 5   actions at the McColl Site not inconsistent with the National Oil and Hazardous
 6   Substances Pollution Contingency Plan (“national contingency plan” or “NCP”),
 7   40 C.F.R. Part 300, and has incurred and continues to incur recoverable costs.2
 8
           As discussed below, the cleanup of hazardous substances at the Site is
 9
     governed by CERCLA, 42 U.S.C. §§ 9601-9675, as amended. If the United States
10
11   conducts a response action, it is entitled to recover “all costs of removal or

12   remedial action incurred by the United States Government . . . not inconsistent
13   with the national contingency plan.” 42 U.S.C. § 9607(a)(A)(4).3
14                   II. STANDARD FOR SUMMARY JUDGMENT
15
           Summary judgment is appropriate when the pleadings and evidence establish
16
     that there are no genuine issues as to any material facts. Fed. R. Civ. P. 56(c); See
17
18
19   million, which represented a compromised amount for activities undertaken and
20   costs incurred through June 30, 1990, September 30, 1990, and June 30, 1991, and
     interest through July 31, 1993, depending on the category of costs.
21   2
       See Declarations of Yvonne Fong (Ex. 1) (“Fong Decl.”), Sharon Johnson (Ex. 2)
22   (“Johnson Decl.”), Lisa Ouyang (Ex. 3) (“Ouyang Decl.”), Magdalen Mak (Ex. 4)
     (“Mak Decl.”), Elaine Chan (Ex. 5) (“Chan Decl.”), Christopher Osborne (Ex. 6)
23
     (“Osborne Decl.”), Rusty Harris-Bishop (Ex. 7) (“Harris-Bishop Decl.”), William
24   Kime (Ex. 8) (“Kime Decl.”), William Weinischke (Ex. 9) (“Weinischke Decl.”),
25   Wiley Wright (Ex. 10) (“Wright Decl.”).
     3
       The national contingency plan “provide[s] the organizational structure and
26   procedures for preparing for and responding to . . . releases of hazardous
27   substances.” See Washington State Dep’t of Transp. v. Wash. Natural Gas Co.,
     Pacificorp, 59 F.3d 793, 799 (9th Cir. 1995) (quoting 40 C.F.R. § 300.1).
28
                                                2
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 1
     Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); Manzanita Park, Inc. v. Ins.
 2
     Co. of N. Am., 857 F.2d 549, 552 (9th Cir. 1988). “A ‘material’ fact is one that is
 3
 4   relevant to an element of a claim or defense and whose existence might affect the

 5   outcome of the suit.” 857 F.2d at 552 (citation omitted). The standard provides
 6   that the mere existence of some alleged factual dispute will not defeat a properly
 7   supported motion; there must be a genuine issue of material fact. Anderson v.
 8
     Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986).
 9
           Summary judgment is particularly well suited for CERCLA cost recovery.
10
11   Numerous courts have granted summary judgment on the issue of the

12   recoverability and amount of response costs. See United States v. Chapman, 146
13   F.3d 1166, 1171 (9th Cir. 1998) (declarations from EPA staff, attorneys,
14   accountants, and cost summaries sufficient to support grant of summary judgment
15
     on CERCLA response costs). Other courts have similarly granted or upheld
16
     summary judgment on the amount of response costs.4
17
18                          III. STATEMENT OF THE CASE

19   A. Legal Authority
20         Congress enacted CERCLA in 1980 “to protect and preserve public health
21
     4
22    See United States v. Middleton, 276 F. Supp. 3d 1352, 1358-59 (M.D. Ga. 2017);
     United States v. Chromalloy Am. Corp., 158 F.3d 345, 347-48 (5th Cir. 1998);
23
     United States v. R.W. Meyer, Inc., 889 F.2d 1497, 1499-1506 (6th Cir. 1989);
24   United States v. Findett Corp., 220 F.3d 842, 849-50 (8th Cir. 2000); United States
25   v. Hardage, 982 F.2d 1436, 1442-43, 1448 (10th Cir. 1992); California ex rel.
     California Dep’t of Toxic Substances v. Neville Chem. Co., 213 F. Supp. 2d 1134,
26   1142 (C.D. Cal. 2002), aff’d, 358 F.3d 661 (9th Cir. 2004); United States v.
27   English, No. CV00-00016ACKBMK, 2001 WL 940946, at *6 (D. Haw. Mar. 28,
     2001); United States v. W.R. Grace & Co.-Conn., 280 F. Supp. 2d 1149, 1180-81
28
     (D. Mont. 2003) (citing Chapman, Findett, Hardage, and Chromalloy).
                                              3
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 1
     and the environment by facilitating the expeditious and efficient cleanup of
 2
     hazardous waste sites.” Carson Harbor Vill., Ltd. v. Unocal Corp., 270 F.3d 863,
 3
 4   880 (9th Cir. 2001) (citation omitted). The statute’s purpose was twofold: “(1) to

 5   ensure the prompt and effective cleanup of waste disposal sites, and (2) to assure
 6   that parties responsible for hazardous substances bore the cost of remedying the
 7   conditions they created.” Id. at 880 (citations omitted). CERCLA is a strict
 8
     liability statute. Id. at 870; United States v. Shell Oil Co., 841 F. Supp. at 968,
 9
     aff’d 281 F. 3d 812 (9th Cir. 2002).
10
11         Pursuant to CERCLA § 104(a), the President, who has delegated the

12   majority of his authority to the Administrator of EPA, 5 is authorized to address a
13   release or a substantial threat of release of hazardous substances into the
14   environment. 42 U.S.C. § 9604(a). Those actions may include “removal” actions,
15
     “remedial” actions, and any other actions necessary to protect the public health or
16
     welfare or the environment. 42 U.S.C. § 9604(a). “Removal” actions include
17
     evaluative, assessment, and monitoring activities and related investigations, as well
18
19   as taking actions necessary to prevent, minimize, or mitigate damage to public
20   health or the environment. 42 U.S.C. § 9601(23). “Remedial” actions include
21   measures taken to deal permanently with hazardous substances. 42 U.S.C.
22
     § 9601(24). CERCLA further provides that the term “response” means a removal
23
     or remedial action and that all such terms include the enforcement activities related
24
     thereto. 42 U.S.C. § 9601(25).
25
26         Judicial review of any response action taken by EPA is limited to the
27
     5
       Meyer, 889 F.2d at 1500 n.7 (citing Exec. Order No. 12,580, 52 Fed. Reg. 2923
28
     (Jan. 23, 1987), reprinted in 42 U.S.C. § 9615 App. at 168-72 (West Supp. 1989)).
                                               4
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 1
     administrative record. 6 42 U.S.C. § 9613(j)(1); see also Order (Feb. 16, 1993) (J.
 2
     Kelleher limiting review of response actions to the administrative record).
 3
 4   Moreover, the Court shall uphold decisions made by the EPA “unless the objecting

 5   party can demonstrate, on the administrative record, that the decision was arbitrary
 6   and capricious or otherwise not in accordance with law.” 42 U.S.C. § 9613(j)(2).
 7         Established Ninth Circuit precedent has elaborated on the statutory standard
 8
     of review. Defendants have the burden of proving that EPA’s choice of a
 9
     particular response action is “arbitrary and capricious” based on the administrative
10
11   record to maintain an assertion that the action was inconsistent with the NCP.

12   Chapman, 146 F.3d at 1170; United States v. W.R. Grace & Co., 429 F.3d 1224,
13   1232 n.13, 1233 (9th Cir. 2005); see also California Dep’t of Toxic Substances
14   Control v. Neville Chem. Co., 358 F.3d 661, 673 (9th Cir. 2004) (emphasizing that
15
     opposing party must prove that the government “acted arbitrarily and capriciously
16
     in choosing a particular response action” (emphasis in original)). The arbitrary and
17
     capricious standard is justified “because determining the appropriate removal and
18
19   remedial action involves specialized knowledge and expertise, [and therefore] the
20   choice of a particular cleanup method is a matter within the discretion of the
21   [government].” Washington State Dep’t of Transp. v. Wash. Natural Gas Co.,
22
     Pacificorp, 59 F.3d at 799 (quoting United States v. Hardage, 982 F.2d 1436, 1442
23
     (10th Cir. 1992)).
24
25
26   6
       The Administrative Records (ARs) dated June 30, 1993 and May 15, 1996 have
27   been certified and provided to the Defendants. Given the voluminous number of
     documents (tens of thousands of pages), the United States is providing the Court
28
     the relevant portions of the administrative records as Exhibits 11-57 to this Motion.
                                               5
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 1
           The hallmark of the arbitrary and capricious standard is deference to the
 2
     agency’s technical expertise. Under that standard of review, the inquiry is whether
 3
 4   the agency “considered the relevant factors and articulated a rational connection

 5   between the facts found and the choice made.” Baltimore Gas & Elec. Co. v.
 6   Natural Res. Def. Council, 462 U.S. 87, 105 (1983). In reviewing the agency’s
 7   evaluation of the relevant statutory factors, the court is not to substitute its
 8
     judgment for that of the agency or to second-guess the agency’s decision. Citizens
 9
     to Pres. Overton Park v. Volpe, 401 U.S. 402, 416 (1971), overruled on other
10
11   grounds by Califano v. Sanders, 430 U.S. 99 (1977).

12         In United States v. Burlington N. R.R. Co., the court applied the arbitrary
13   and capricious standard of review on the administrative record to CERCLA,
14   explaining that “[a]gency action will be set aside only if ‘the agency has relied on
15
     factors which Congress has not intended it to consider, entirely failed to consider
16
     an important aspect of the problem, offered an explanation for its decision that runs
17
     counter to the evidence before the agency, or is so implausible that it could not be
18
19   ascribed to a difference in view or the product of agency expertise.’” 200 F.3d
20   679, 689 (10th Cir. 1999) (quoting Motor Vehicle Mfrs. Ass’n of U.S. v. State
21   Farm Mut. Ins. Co., 463 U.S. 29, 43 (1983)). In Browning-Ferris Indus. of S.
22
     Jersey, Inc. v. Muszyniski, the court stated that “[c]ourts should be particularly
23
     reluctant to second-guess agency choices involving scientific disputes that are in
24
     the agency’s province of expertise.” 899 F. 2d 151, 160 (2d Cir 1990). The court
25
26   went on to quote the Supreme Court: “Particularly when we consider a purely
27   factual question within the area of competence of an administrative agency created
28   by Congress, and when resolution of that question depends on ‘engineering and
                                                 6
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 1
     scientific’ considerations, we recognize the relevant agency’s technical expertise
 2
     and experience, and defer to its analysis unless it is without substantial basis in
 3
 4   fact.” Id. (quoting Fed. Power Comm’n v. Florida Power & Light Co., 404 U.S.

 5   453, 463 (1972)); see also United States v. Akzo Coatings of Am., 949 F. 2d 1409,
 6   1424 (6th Cir. 1991) (“The federal courts have neither the time nor the expertise to
 7   [engage in a de novo review of scientific evidence], and CERCLA has properly left
 8
     the scientific decisions regarding toxic substance cleanup to the President’s
 9
     delegatee, the EPA administrator and his staff.”). In Browning-Ferris, the court
10
11   found that, while the defendant’s remedial action choice had some scientific merit,

12   deference to the agency and the need to keep out of the courts such detailed
13   scientific disputes merited a finding for EPA. 899 F.2d at 164. 7
14         The Governments’ response actions at the McColl Site relevant to this
15
     Motion were selected in two Records of Decision (“RODs”). The June 30, 1993
16
     Source/Soil ROD selected soft material solidification with a contingency Resource
17
     Conservation and Recovery Act (“RCRA”)-equivalent closure. (Ex. 11 at 0878.)
18
19
     7
20     See also Marsh v. Or. Natural Res. Council, 490 U.S. 360, 378 (1989) (“When
     specialists express conflicting views, an agency must have discretion to rely on the
21   reasonable opinions of its own qualified experts even if, as an original matter, a
22   court might find contrary views more persuasive.”); United States v. Iron Mountain
     Mines, Inc.. 987 F. Supp. 1250, 1255 (E.D. Cal. 1997) (Section 113(j) “reflects
23
     Congress’ judgment that, unlike a reviewing court, the EPA has the specialized
24   knowledge and expertise needed to choose the appropriate cleanup method.”);
25   United States v. Princeton Gamma-Tech, Inc., 817 F. Supp. 488, 492 (D.N.J.
     1993), order reversed, 31 F.3d 138 (3rd Cir. 1994) (“De novo review cannot be
26   reconciled with the complex, technical requirements for the cleanup of hazardous
27   waste sites. . . . [A] court ‘cannot and will not substitute its layman’s judgment for
     the scientific conclusions made by EPA after years of in-depth study of the . . .
28
     sites.’” (quoting United States v. Ward, 618 F. Supp. 884, 900 (E.D.N.C. 1985)).
                                                 7
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 1
     This remedy was selected to treat the principal threats at the Site, such as benzene,
 2
     sulfur dioxide, and arsenic. Its objective was to minimize the seeping material and
 3
 4   treat the acidic soft material by eliminating its corrosive characteristic. The May

 5   15, 1996 Groundwater ROD selected reduction of water infiltration into the
 6   ground, monitoring, and implementation of institutional controls if monitoring
 7   results exceed specified criteria. (Ex. 12 at 1285.)8
 8
     B. Factual Background
 9
           1. The Site
10
11         In 1982, the McColl Site was placed upon the National Priorities List

12   (“NPL”), which comprises the most contaminated sites in the country requiring
13   cleanup. (Ex. 15 at 1702). The Site consists of approximately twenty-two acres
14   within the City of Fullerton, California. Housing developments abut two sides of
15
     the Site. The Site was contaminated with refinery wastes (acid sludge) containing
16
     hazardous substances such as benzene, toluene and xylene. Shell Oil, 841 F. Supp.
17
     at 969. As this Court noted, “[t]he record before the Court establishes beyond
18
19   dispute that the oil companies generated the hazardous waste dumped at the
20   McColl Site, and that they contracted with Eli McColl to transport the waste to,
21   and dump it in sumps on, the McColl Site.” Id. at 969-70.
22
23
24
25   8
       In the RODs, EPA determined that the hazardous substances at the McColl Site
26   presented a threat to human health. (Ex. 11 at 0878; Ex. 12 at 1284.) EPA
27   expressly applied the criteria set forth in 40 C.F.R. § 300.415(b)(2) (Mar. 8, 1990)
     in reaching this conclusion. (Ex. 13 at 1462; Ex. 11 at 0880; Ex. 12 at 1285; Ex. 14
28
     at 1606.)
                                                 8
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 1
           2. Response Actions
 2
                  a. Background and Summary of Response Activities
 3
 4         Agencies began investigating the Site as a result of residents’ odor and

 5   health complaints reported as early as 1978. (Ex. 11 at 0885; Ex. 16 at 1722-1724;
 6   Ex. 17 at 1727.) Waste repeatedly oozed from the surface and was visible from the
 7   backyards of houses adjacent to the Site. (Ex. 15 at 1703, Ex. 11 at 0887.)
 8
           In response to the release or threatened release of hazardous substances at
 9
     the Site, the United States has taken numerous response actions as authorized by
10
11   CERCLA. The United States’ costs associated with the McColl Site include costs

12   for EPA personnel, costs for EPA contractors, interagency agreements, and grants
13   to the State of California through Site-specific cooperative agreements with the
14   Department of Health Services or its successor the California Department of Toxic
15
     Substances Control (“DTSC”). The United States’ costs also include EPA’s
16
     indirect costs and DOJ’s costs. (Ex. 1, Fong Decl. ¶¶ 16 – 18; Ex. 4, Mak Decl. ¶¶
17
     16, 37; Ex. 6, Kime Decl. ¶¶ 17-21 & Ex. C to Kime Decl. ¶ 8.)
18
19         Over the years, EPA, working with its contractors or the State and its
20   contractors, has performed several investigations and studies to determine the
21   nature and extent of the releases and threatened releases of hazardous substances at
22
     the Site. (Ex. 11 at 0881.) These response actions are consistent with removal and
23
     remedial response actions as defined in CERCLA at 42 U.S.C. § 9601(23), (24),
24
     and (25). EPA has gathered and evaluated information relating to proposed
25
26   cleanup alternatives. (Ex. 11.) EPA has also conducted cleanup operations at the
27   Site regarding the periodic seeps of sludge to the surface. (Ex. 11; Ex. 17 at 1727;
28   Ex. 18 at 1730.) EPA’s response actions at the McColl Site have also included:
                                              9
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 1
     evaluation of feasibility studies to identify and evaluate potential remedial
 2
     alternatives (Ex. 19 at 1763; Ex. 20 at 1999; Ex. 21 at 2123; Ex. 22; Ex. 23 at
 3
 4   2146); conducting health studies (Ex. 24; Ex. 25 at 2167; Ex. 26; Ex. 27; Ex. 28;

 5   Ex. 29; Ex. 20; Ex. 13); conducting treatability studies to determine if certain
 6   alternatives could be implemented9 (Ex. 30 at 3935; Ex. 31 at 4050; Ex. 32 at
 7   4462; Ex. 33; Ex. 34; Ex. 35; Ex. 36; Ex. 37); performing a Remedial
 8
     Investigation/Feasibility Study for groundwater (Ex. 38; Ex. 39; Ex. 14); arranging
 9
     for Site operation and maintenance (Ex. 7, Harris-Bishop Decl. ¶ 21, 22);
10
11   performing community relations work, including keeping the residents informed

12   and encouraging their participation in the remedy selection process (Ex. 40 at
13   5789); undertaking various enforcement activities, including identification of
14   potentially responsible parties, negotiations, extensive discovery and litigation with
15
     responsible parties and cost recovery efforts; and conducting other response
16
     actions relating to the release and threatened release of hazardous substances at the
17
     Site. (Ex. 7, Harris-Bishop Decl. ¶¶ 9-23; see generally Ex. 9, Weinischke Decl.)
18
19                b. Involvement of Interested Parties (Stakeholders)
20         From the time Government Plaintiffs began investigating the Site, the
21   community was actively involved in the process of selecting cleanup activities at
22
     the Site. (Ex. 11 at 0885.) Starting in 1986, EPA held regular meetings in
23
24   9
       In 1986, CERCLA was amended to require EPA to give preference to “[r]emedial
25   actions in which treatment which permanently and significantly reduces the
     volume, toxicity or mobility of the hazardous substances, pollutants, and
26   contaminants is a principal element.” 42 U.S.C. § 9621(b)(1). Such actions “are to
27   be preferred over remedial actions not involving such treatment.” Id. EPA is
     required to the maximum extent practicable to select a remedial action that is
28
     permanent and utilizes treatment technologies. 42 U.S.C. § 9621(b)(1).
                                              10
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 1
     connection with the McColl Site with the Interagency Committee, which
 2
     comprised: EPA, DTSC, the City of Fullerton, South Coast Air Quality
 3
 4   Management District, City of Buena Park, Orange County Environmental Health,

 5   California Regional Water Quality Control Board, California Department of Health
 6   Services’ Drinking Water Branch, and the California Environmental Protection
 7   Agency’s Office of Environmental Health Hazard Assessment. (Ex. 11 at 0886.)
 8
           One of the entities that was heavily involved in the process was the McColl
 9
     Site Group (MSG), which was made up of the Defendants. (Ex. 11 at 0952.)
10
11   Throughout the process, there were divergences of views as to which remedy

12   would best protect public health and the environment. (Ex. 11 at 0907; Ex. 41 at
13   5843; Ex. 42 at 5848.)
14                c. Consideration of Cleanup Alternatives
15
           EPA considered a wide range of cleanup alternatives. (Ex. 11 at 0906.)
16
     EPA is guided in remedy selection by the statutory requirements of CERCLA
17
     Section 121, 42 U.S.C. § 9621, and the NCP. The NCP has nine evaluation
18
19   criteria, which are: (a) overall protection of human health and the environment, (b)
20   compliance with applicable or relevant and appropriate requirements, (c) long-term
21   effectiveness and permanence, (d) reduction of toxicity, mobility or volume
22
     through treatment, (e) short-term effectiveness, (f) implementability, (g) cost
23
     effectiveness, (h) State acceptance, and (i) community acceptance. (Ex. 13 at
24
     1462; Ex. 43 at 6003; Section 300.430(e)(9)(iii) of the NCP). The NCP provides
25
26   for a process by which EPA works with interested parties (stakeholders) who have
27   an interest in the cleanup of the hazardous waste. 40 C.F.R. § 300.430(c) (Mar. 8,
28   1990). Appendix D to 40 C.F.R. Pt. 300 (Mar. 8, 1990) describes the types of
                                              11
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 1
     remedial actions generally appropriate for specific situations commonly found at
 2
     Superfund sites and lists methods for remedying releases that may be considered
 3
 4   by the lead agency (EPA).

 5         Pursuant to the statute, which expresses a preference for treatment and for
 6   utilization of permanent solutions and alternative treatment technologies to the
 7   maximum extent practicable, see supra n.9, EPA considered several remedies
 8
     within the gamut of treatment and permanent solutions. (Ex. 11 at 0907 and 40
 9
     C.F.R. § 300.430 (Mar. 8, 1990).) EPA, the State, MSG and others worked
10
11   together extensively throughout the remedy selection processes. MSG opposed the

12   approach that EPA was evaluating in the early part of the 1990s relating to
13   excavation and thermal destruction of the hazardous wastes. Based on treatability
14   studies EPA conducted and public comments received as part of the process,
15
     including those from the MSG, EPA decided to update and reevaluate the remedial
16
     alternatives identified in the 1989 Proposed Plan. (Ex. 44 at 6181.) The
17
     reevaluation effort included reviewing a selective excavation and treatment
18
19   technology proposed by the MSG. (Ex. 11 at 0911.) EPA scheduled the issuance
20   of a new proposed plan for late 1992, along with its plan to conduct an analysis
21   under the nine criteria at 40 C.F.R. § 300.430(e)(9)(iii) (Mar. 8, 1990) to compare
22
     the cleanup alternatives. (Ex. 44 at 6181.)
23
            The McColl Site posed complex issues involving protection of public health
24
     and the environment, which EPA took seriously and grappled with on multiple
25
26   fronts. (Ex. 11 at 0887; Ex. 45 at 6184.) There were numerous and regular
27   technical meetings between EPA, the State, and MSG. (Ex. 46 at 6187.) EPA
28   weighed MSG’s opinions. (Ex. 47; Ex. 48; Ex. 49; Ex. 50; Ex. 51.) One of the
                                              12
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 1
     cleanup alternatives considered was off-site incineration. (Ex. 52 at 6740; Ex. 53
 2
     at 6744.) Although some members of the public supported off-site incineration,
 3
 4   MSG opposed it and meetings were held to discuss that issue. The South Coast

 5   Air Quality Management District objected to EPA’s eliminating off-site
 6   incineration from further consideration. (Ex. 54 at 6749.) While the Defendants
 7   were critical of EPA, they also acknowledged that EPA was trying to comply with
 8
     the law and involve the public in the process of remedy selection. (Ex. 55 at
 9
     6759.) The Defendants proposed a selective excavation cleanup alternative and
10
11   encouraged EPA to evaluate their proposal thoroughly. (Ex. 55 at 6759.) In

12   August 1991, EPA eliminated the excavation and off-site incineration remedy from
13   further review (Ex. 56 at 6764), although some stakeholders objected to EPA
14   eliminating that alternative. The Fullerton City Council always preferred a
15
     permanent remedy, such as incineration, so that no hazardous waste would remain
16
     at the Site. (Ex. 57 at 6770.) While MSG continued to oppose excavation and
17
     on-site incineration and urged that it be dropped from consideration, EPA, based
18
19   upon CERCLA and the NCP, did not eliminate the on-site incineration remedy
20   from consideration. (Ex. 42 at 5851.)
21         In the Spring of 1992, EPA informed the MSG that eight cleanup
22
     alternatives were being considered. (Ex. 51 at 6737.) The remedy selected in the
23
     1993 ROD for the soil contamination at the McColl Site was in-situ solidification
24
     of the soft layer of the twelve pits at the Site, followed by RCRA-equivalent
25
26   closure. (Ex. 11 at 0915.) This remedy was similar to one proposed by the MSG.
27   (Ex. 41 at 5843; Ex. 51 at 6737.) If the in-situ solidification proved to be
28   technically unimplementable, the 1993 ROD provided for a contingent RCRA-
                                              13
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 1
     equivalent closure for the entire Site. (Ex. 11 at 0951.) As EPA noted at the time
 2
     it issued the 1993 ROD, the soft material solidification remedy, unlike closure
 3
 4   alone, utilized permanent solutions and treatment technologies and satisfied the

 5   statutory preference for treatment. (Ex. 11 at 0957.) The in-situ solidification
 6   proved to be technically infeasible, and the contingent remedy, known as “RCRA
 7   Equivalent Closure,” was selected as the final remedy in 1995 and successfully
 8
     constructed in 1996 and 1997. It remains in operation today. (Ex. 7, Harris-
 9
     Bishop Decl. ¶¶ 19, 20, 23.)
10
11         3. Response costs

12         The response costs are set forth and detailed in Certified Cost Summaries
13   prepared by EPA and attached as Exs. A, B, and C to Magdalen Mak’s
14   Declaration, Ex. 4, and in Cost Summaries prepared by William Kime for DOJ and
15
     attached to his Declarations, Ex. 8, as Exs. B and C. The Fong, Johnson, Ouyang
16
     and Mak Declarations (Exs. 1, 2, 3, and 4) describe the process of creating the
17
     Certified Cost Summaries, the various cost categories included on the Cost
18
19   Summaries, and the review and verification process associated with the
20   Summaries. See generally, Fong, Johnson, Ouyang, and Mak Decls. (Exs. 1, 2, 3,
21   and 4.) Wiley Wright, an independent Certified Public Accountant with extensive
22
     experience in Superfund costs and cost recovery, reviewed and summarized all of
23
     the cost documentation compiled by William Kime, Yvonne Fong, Sharon
24
     Johnson, Lisa Ouyang, and Magdalen Mak. (Ex. 10, Wright Decl.) Wright’s
25
26   declaration documents unreimbursed response costs of $52,183,070.79 for EPA’s
27   costs through July 31, 2018 and DOJ’s costs through September 30, 2019
28   (including prejudgment interest accruing through September 30, 2019 for both
                                              14
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 1
     EPA’s and DOJ’s costs).10 (Ex. 10, Wright Decl. ¶ VI.) Prejudgment interest is
 2
     applied on the amount recoverable. See 42 U.S.C. § 9607(a)(4). Response actions
 3
 4   include related enforcement actions. 42 U.S.C. § 9601(25). See Chapman, 146

 5   F.3d at 1174. As of the date ranges given above, the total amount the Defendants
 6   owe the United States is $49,861,337.62. 11
 7                                   IV. ARGUMENT
 8
     A. Response Costs Incurred
 9
           1. Response Costs Incurred Are Recoverable
10
11         The costs incurred by the United States and documented in the Cost

12   Summaries are precisely the types of costs recoverable under CERCLA. Section
13   107(a) makes responsible parties liable for “all costs of removal or remedial action
14   incurred by the United States Government . . . .” 42 U.S.C. § 9607(a) (emphasis
15
     added). The Government is authorized to recover all costs from the person
16
     responsible for the hazardous substances so that the ultimate financial
17
     responsibility is placed on the responsible party and so the recovered monies can
18
19
     10
20      Due to the significant time and expense required to reconcile the voluminous
     cost documents, EPA and DOJ established cutoffs of July 31, 2018, and September
21   30, 2019, respectively, to compile the costs for this Motion. The United States
22   continues to incur costs at the McColl Site.
     11
        This figure is the total amount of EPA’s costs from July 1, 1990, through July 31,
23
     2018, DOJ’s costs from October 1, 1990, through September 30, 2019, and
24   prejudgment interest through September 30, 2019, on both agencies’ costs
25   ($52,183,070.79), less the 6.25% share allocated to the United States by stipulation
     of the parties in 2003, Docket No. 507 at 2 n.1., plus interest ($939,708.75) that
26   accrued on the costs settled under the 1994 Consent Decree. The $939,708.75 in
27   prejudgment interest accrued starting July 31, 1993, through the date of
     Defendants’ payment of the United States’ response costs under the 1994 Consent
28
     Decree (Wright Decl., Ex. 10 ¶ IV.K.; 1994 Consent Decree ¶¶ 3.f., 10).
                                               15
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 1
     be used to replenish the Superfund. Meyer, 889 F. 2d at 1500. The broad remedial
 2
     purpose of CERCLA supports a liberal interpretation of the term “all costs.” See
 3
 4   Chapman, 146 F.3d at 1175; Meyer, 889 F.2d at 1503.

 5         Courts have found that recoverable response costs include:
 6         1) direct costs and indirect costs such as overhead costs in administering the
 7   Superfund program and litigating Superfund enforcement actions. See Meyer, 889
 8
     F.2d at 1503-1504; United States v. Ottati & Goss, Inc., 900 F.2d 429, 444 (1st Cir.
 9
     1990); Neville, 213 F. Supp. 2d at 1124.
10
11         2) prejudgment interest. See, 42 U.S.C. § 9607(a)(4), Meyer, 889 F.2d at

12   1505; United States v. Monsanto Co., 858 F.2d 160, 175-76 (4th Cir. 1988).
13         3) litigation costs, including reasonable attorney fees, administrative costs
14   and investigative costs related to response action. See 42 U.S.C. § 9601(25),
15
     Chapman, 146 F.3d at 1175; United States v. Gurley, 43 F.3d 1188, 1199-1200
16
     (8th Cir. 1994) (DOJ attorneys fees and litigation expenses); Neville 213 F. Supp.
17
     2d at 1124; United States v. Amtreco, Inc., 846 F. Supp. 1578, 1583 n.7, amended,
18
19   858 F. Supp. 1189 (M.D. Ga. 1994) (DOJ costs).
20         4) government oversight costs. See Chromalloy Am. Corp., 158 F.3d at
21   349; Neville, 213 F. Supp. 2d at 1124.
22
           5) costs incurred assessing, investigating, monitoring, testing and evaluating
23
     the situation. See 42 U.S.C. §9601(23); State of New York v. Shore Realty Corp.,
24
     759 F.2d 1032, 1042-1043 (2d Cir. 1985).
25
26         All of the costs for which the United States seeks recovery in this motion fall
27   within the categories of recoverable costs described above. See Fong, Johnson,
28   Mak, Ouyang, Osborne, Kime Decls. (Exs. 1, 2, 4, 3, 6, 8.) Specifically, the costs
                                                16
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 1
     at issue fit within the following categories: 1) EPA payroll expenses and travel
 2
     expenses incurred in conducting response actions and in seeking to recover costs
 3
 4   from the Defendants; 2) EPA indirect/oversight costs; 3) DOJ costs; 4)

 5   expenditures for contracts and interagency agreements; and 5) prejudgment interest
 6   for EPA and DOJ. See Statement of Uncontroverted Facts and Conclusions of
 7   Law; Exhibits A, B, and C attached to Ex. 4, Mak Decl; Ex. 10, Wright Decl. The
 8
     unreimbursed costs and interest in this action total $52,183,070.79 (not including
 9
     interest on the 1994 Consent Decree, supra n.11). (Ex. 10, Wright Decl. ¶ III.I.)
10
11         There are no genuine issues of material fact with respect to these costs.

12   Each of the categories, as described here and in the declarations, are costs of
13   response actions and are recoverable under the law.
14         2. Response Costs Are Adequately Documented, Calculated and Presented
15
           The United States has adequately documented all costs it seeks to recover
16
     thus far in this action. EPA utilized its Superfund Cost Recovery Package Imaging
17
     and On-line System (SCORPIOS) in preparing the McColl Cost Summaries. (Ex.
18
19   1, Fong Decl. ¶¶ 11, 13; Ex. 4, Mak Decl. ¶¶ 15, 16.)
20         The United States presents its response costs in the form of attached
21   Declarations and Cost Summaries from EPA and DOJ.12 These Cost Summaries
22
     are based on underlying cost documentation such as time sheets, vouchers and
23
     indirect costs. (Ex. 1, Fong Decl. ¶¶ 15, 16, 18; Ex. 4, Mak Decl. ¶¶ 16, 24.) The
24
     underlying cost documentation has been compiled, reviewed and summarized by
25
26   Ms. Johnson, Ms. Fong, Ms. Mak, Ms. Ouyang, and Mr. Kime and is presented to
27
     12
       Pursuant to Federal Rule of Evidence 1006, voluminous writings or recordings
28
     can be presented to the Court in the form of a chart or summary.
                                              17
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 1
     this Court for purpose of convenience in the form of Cost Summaries. (See Exs. 1,
 2
     2, 3, 4, 8, Fong, Johnson, Ouyang, Mak, and Kime Decls., and attachments
 3
 4   thereto.) Due to the complexity and volume of documents involved, the United

 5   States tasked Mr. Wright with reviewing and summarizing the documentation
 6   compiled by those declarants. (See Ex. 10, Wright Decl.) Courts have held that
 7   affidavits and cost summaries submitted by the United States in support of its
 8
     motions for summary judgment on the issue of cost recovery under CERCLA 42
 9
     U.S.C. § 9607(a) are admissible and sufficient to establish the amount of these
10
11   costs. See Chapman, 146 F.3d at 1172; Hardage, 982 F.2d at 1442-43; Findett,

12   220 F.3d at 849; Chromalloy, 158 F.3d at 352; Neville, 213 F. Supp. 2d at
13   1139-42; United States v. Fed. Res. Corp., 30 F. Supp. 3d 979, 994 (D. Idaho
14   2014), aff’d in part, 691 F. App'x 441 (9th Cir. 2017). The United States supplies
15
     exactly this type of evidence in support of this motion.
16
           In the regular course of business, EPA compiles cost documentation
17
     packages for each site, collecting contract vouchers, invoices, and time sheets,
18
19   reflecting the costs incurred by EPA and its contractors at Superfund sites. (Fong,
20   Johnson, Ouyang, Mak Decls. generally, Exs. 1, 2, 3, 4.) A certified cost
21   documentation package contains true and correct copies of cost documentation for
22
     EPA costs incurred and paid at a specific site. (See generally Johnson, Ouyang
23
     Decls., Exs. 2 and 3.) The underlying cost documents, which were also produced
24
     to Defendants, are thus authentic under Fed. R. Evid. 901 and fall into the business
25
26   record exception to the hearsay rule under Fed. R. Evid. 803(6). (Conclusions of
27   Law ¶ 17.)
28
                                              18
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 1
           EPA uses the SCORPIOS system to track and summarize the costs for
 2
     Superfund sites. (Statement of Uncontroverted Facts ¶ 90; Ex. 1, Fong Decl. ¶ 15;
 3
 4   Ex. 4, Mak Decl. ¶ 15.) These summaries are used in the regular course of EPA

 5   business. (Statement of Uncontroverted Facts ¶ 90; Ex. 2, Johnson Decl. ¶ 8; Ex.
 6   3, Ouyang Decl. ¶ 15.) The SCORPIOS report tracks and summarizes the
 7   voluminous cost documents. (Statement of Uncontroverted Facts ¶¶ 90-91.) The
 8
     SCORPIOS report reflects the amount of each cost type (payroll costs, travel costs,
 9
     indirect cost, contractor costs, interagency agreement costs) that EPA incurred at
10
11   the Site. (Statement of Uncontroverted Facts ¶ 91; Ex. 1, Fong Decl. ¶¶ 15, 18; Ex.

12   4, Mak Decl. ¶¶ 15, 34.)
13         Ms. Fong, who was a Cost Accountant in EPA’s Superfund Accounting
14   Program, prepared EPA’s cost documentation package and Cost Summary for
15
     costs from July 1, 1990 through June 30, 2004. (Ex. 1, Fong Decl. ¶¶ 9-10.) Ms.
16
     Mak, an Accountant in EPA’s Accounting Section of the Finance Branch, prepared
17
     EPA’s cost documentation packages and Cost Summaries for costs from July 1,
18
19   2004 through July 31, 2018. (Ex. 4, Mak Decl. ¶¶ 12, 14.) Ms. Mak also updated
20   the Cost Summary Ms. Fong had prepared to update final indirect and annual
21   allocation rates and to deduct payments made by Defendants. (Ex. 4, Mak Decl. ¶¶
22
     11, 47-56.) Ms. Fong and Ms. Mak each describe the types of costs and the
23
     accounting documentation that established the amount of each cost type incurred
24
     by EPA at the Site. (Ex. 1, Fong Decl. ¶¶ 24-61; Ex. 4, Mak Decl. ¶¶ 25-42.) For
25
26   costs incurred from approximately July 1, 1990 through June 30, 2004, Ms.
27   Johnson and Ms. Fong personally reviewed the underlying records, produced the
28   SCORPIOS summary, and reconciled the summary against the underlying
                                              19
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 1
     documents. (Ex. 1, Fong Decl. ¶ 19; Ex. 2, Johnson Decl. ¶ 11.) For costs
 2
     incurred from July 1, 2004 through July 31, 2018, Ms. Mak and Ms. Ouyang
 3
 4   personally reviewed the underlying records, produced the SCORPIOS summary,

 5   and reconciled the summaries against the underlying documents. (Ex. 4, Mak
 6   Decl. ¶¶ 11-12; Ex. 3, Ouyang Decl. ¶¶ 18-19.)
 7         Ms. Fong and Ms. Mak prepared the intramural portion of the Cost
 8
     Summaries. (Ex. 1, Fong Decl. ¶ 20; Ex. 4, Mak Decl. ¶ 20.) Intramural costs
 9
     include EPA Region 9 and Headquarters payroll costs and travel expenses. (Ex. 1,
10
11   Fong Decl. ¶ 17; Ex. 4, Mak Decl. ¶ 17.) To prepare the intramural cost sections

12   for the McColl Site, Ms. Fong and Ms. Mak collected documents, including
13   employee time sheets, employee travel vouchers, airline tickets and other related
14   travel receipts. (Ex. 1, Fong Decl. ¶¶ 21-23; Ex. 4, Mak Decl. ¶ 21-24.) EPA
15
     maintains the documents collected by Ms. Fong and Ms. Mak in the ordinary
16
     course of business. (Ex. 1, Fong Decl. ¶ 20; Ex. 4, Mak Decl. ¶ 21.)
17
           The Regional payroll costs of $1,372,429.33 through July 31, 2018, are an
18
19   accurate accounting of Region 9’s payroll costs. (Ex. 10, Wright Decl. ¶ IV.E.)
20   The headquarters payroll costs of $13,659.42 are an accurate accounting of the
21   Headquarters costs. (Id.) The Regional travel costs of $264,355.95 are an accurate
22
     accounting of travel costs. (Id.) The Headquarters travel costs of $5,167.25 are an
23
     accurate accounting of the Headquarters travel costs. (Id.)
24
           Ms. Fong and Ms. Mak also prepared the extramural portion of the Cost
25
26   Summaries. (Ex. 1, Fong Decl. ¶ 29; Ex. 4, Mak Decl. ¶ 29.) They collected
27   documents such as vouchers, invoices, and United States Treasury confirmation
28   schedules to calculate the extramural costs. (Ex. 1, Fong Decl. ¶ 30-36; Ex. 4, Mak
                                             20
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 1
     Decl. ¶ 30-35). EPA’s extramural costs of $8,423,381.57 are an accurate
 2
     accounting of the agency’s contractor and direct procurement costs. (Ex. 10,
 3
 4   Wright Dec. ¶ IV.F.)

 5         The costs summarized by Ms. Fong, Ms. Mak, and Mr. Wright also include
 6   both “indirect” costs incurred by EPA as well as an “annual allocation.” (Ex. 1,
 7   Fong Decl. ¶ 16; Ex. 4, Mak Decl. ¶ 16; Ex. 10, Wright Decl. ¶¶ IV.E., IV.F).
 8
     Christopher Osborne, Senior Financial Adviser of EPA’s Office of the Controller,
 9
     Immediate Office, describes the process employed by EPA to calculate EPA’s
10
11   indirect costs and the annual allocation rates. (Ex. 6, Osborne Decl.) Mr. Osborne

12   states that the indirect rate and annual allocation process are reasonable and based
13   on generally accepted practices. (Ex. 6, Osborne Decl. ¶¶ 11, 18, 19, 20, 40, 52.)
14   The indirect rate methodology employed by EPA fairly allocates the indirect costs
15
     associated with EPA’s Superfund program to specific sites and complies with the
16
     relevant accounting standard. United States v. W.R. Grace & Co.-Conn., 280 F.
17
     Supp. 2d 1149, 1185-87 (D. Mont. 2003), aff’d, 429 F.3d 1224 (9th Cir. 2005).
18
19   The annual allocation methodology apportions to sites contractors’ non-site-
20   specifically charged costs that nevertheless support, benefit or relate to site
21   response actions. (Ex. 6, Osborne Decl. ¶ 45.); see also Findett, 220 F.3d at 849.
22
           Mr. Kime, a C.P.A., describes the calculation for DOJ enforcement costs and
23
     indirect costs. (Statement of Uncontroverted Facts ¶ 95.) The Cost Summaries
24
     attached to Mr. Kime’s Declaration summarize the underlying time sheets and
25
26   other accounting records for direct labor costs and indirect costs incurred by DOJ
27   in prosecuting this case. (See Exs. B & C to Kime Decl., Ex. 8.) Mr. Kime
28   describes the process employed to calculate indirect costs incurred by DOJ.
                                               21
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 1
     (Statement of Uncontroverted Facts ¶ 99; Ex. 8, Kime Decl., ¶¶ 14-15; Ex. C to
 2
     Ex. 8 ¶ 6.) Mr. Kime declares that the indirect rate and methodology are
 3
 4   reasonable and based on good accounting practices. (Ex. 8, Kime Decl. ¶ 23; Ex.

 5   C to Ex. 8 ¶ 9.) Additionally, the attorneys’ fees incurred in connection with the
 6   Site are reasonable and consistent with Ninth Circuit mandates. (See Ex. 9,
 7   Weinischke Decl.)
 8
           CERCLA provides that “all costs” include prejudgment interest. 42 U.S.C.
 9
     § 9607(a)(4). Interest accrues “from the later of (i) the date payment of a specified
10
11   amount is demanded in writing, or (ii) the date of the expenditure concerned.” Id.

12   Mr. Wright explains that prejudgment interest has accrued from the date of EPA’s
13   first demand for payment on September 17, 1990, through September 30, 2019, on
14   the United States’ costs in the amount of $26,850,574.05. (Ex. 10, Wright Decl.
15
     ¶ IV.J.)
16
           Based on the foregoing, the United States EPA has incurred unreimbursed
17
     costs of $52,183,070.79 through July 31, 2018, including DOJ’s costs from
18
19   October 1, 1990 through September 30, 2019, and including prejudgment interest
20   calculated. (Statement of Uncontroverted Facts ¶ 7; Ex. 10, Wright Decl. ¶ VI.)
21   Since the United States has established a prima facie case for recovery of response
22
     costs, it is entitled to recover the costs as set forth in the declarations and cost
23
     summaries attached thereto, absent a contrary showing by Defendants that the
24
     response actions were not consistent with the NCP.
25
26
27
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                                                22
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 1
     B. All Response Costs are Recoverable
 2
           1. Legal Standard for Recovery of Response Costs
 3
 4         CERCLA Section 113(j) provides that (1) judicial review of EPA’s response

 5   action shall be limited to the administrative record, (2) the standard of judicial
 6   review is whether the defendant proves that the decision was arbitrary and
 7   capricious, and (3) the remedy is an award of only those response costs that are not
 8
     inconsistent with the NCP. 42 U.S.C. § 9613(j).
 9
           Case law is well-settled regarding the recovery of response costs incurred by
10
11   the Government in connection with the release of hazardous substances from a site

12   such as the McColl Site. Once the United States shows that it has incurred
13   response costs as a result of a release or threat of release of hazardous substances,
14   the burden shifts to the defendant to show, on the administrative record, that: 1) the
15
     response action selected by the Government for which the costs were incurred was
16
     inconsistent with the NCP; 2) the Government acted arbitrarily and capriciously or
17
     not in accordance with law; and 3) the amount of additional costs incurred as a
18
19   result. United States v. Burlington N. R.R. Co., 200 F.3d at 692, 695.
20         Because the evidence establishes that the United States incurred response
21   costs in connection with the release of hazardous substances from the McColl Site,
22
     the burden now shifts to the Defendants to prove that the response actions selected
23
     by the United States were inconsistent with a specific provision of the NCP. See
24
     Chapman, 146 F.3d at 1170. Consistency with the NCP is presumed once the
25
26   Government has established its prima facie case. Id. at 1170. Thus, the only basis
27   the Defendants have for challenging the costs incurred by the United States in
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                                               23
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 1
     connection with the Site is to show, on the administrative record, that the selection
 2
     of a specific response action was inconsistent with the NCP. Id. at 1169-70. 13
 3
 4         In determining whether the Government acted arbitrarily and capriciously,

 5   “the function of the district court is to determine whether or not as a matter of law
 6   the evidence in the administrative record permitted the agency to make the
 7   decision it did.” Occidental Eng’g Co. v. I.N.S. 753 F.2d 766, 769 (9th Cir. 1985);
 8
     see also City and County of San Francisco v. United States, 130 F.3d 873, 877 (9th
 9
     Cir. 1997). The court is thus not required to “resolve any facts,” as EPA is the
10
11   finder of fact here. Occidental Eng’g, 753 F.2d at 769-70. Summary judgment is

12   the “appropriate mechanism for deciding the legal question of whether the agency
13   could reasonably have found the facts as it did.” Id. at 770.
14         Finally, even if a response action is shown to be inconsistent with the NCP,
15
     the Defendants have the burden of demonstrating that the cleanup, because of some
16
     variance from the NCP, resulted in demonstrably excess costs. United States v.
17
     Burlington N. R.R. Co., 200 F.3d at 695 (citations omitted); W.R. Grace & Co.-
18
19   Conn., 280 F. Supp. 2d at 1179 (“defendant must prove inconsistency exists and
20   the amount of additional costs that were incurred as a result of the inconsistency”).
21         2. EPA Compiled Administrative Records As Prescribed by the NCP
22
           The NCP provides that the “documents that form the basis for the selection
23
     of a response action” should be placed in an administrative record. 40 C.F.R.
24
25
26   13
       Defendants must prove that selection of a response action, not the associated
27   “costs,” was inconsistent with the NCP. As emphasized in Hardage, “[t]he NCP
     regulates choice of response actions, not costs. Costs, by themselves, cannot be
28
     inconsistent with the NCP.” 982 F. 2d. at 1443 (internal citations omitted).
                                              24
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 1
     § 300.800(a) (Mar. 8, 1990). EPA has compiled an administrative record for the
 2
     RODs it has issued in connection with the McColl Site. (Ex. 5, Chan Decl. ¶ 6.)
 3
 4   The administrative record contains comments from the public, including those

 5   from the Defendants, submitted on EPA’s response action decisions, all documents
 6   that Defendants attached to their comments, and EPA’s response to the comments,
 7   in accordance with the NCP. 40 C.F.R. § 300.815 (Mar. 8, 1990). EPA has
 8
     certified the administrative record, made it available to the Defendants, and filed
 9
     the applicable portions of the administrative record with the Court electronically.
10
11   The filed documents (Exs. 11-57) contain true and correct copies of the original

12   administrative record documents pertaining to activities and costs relevant to this
13   Motion. (Ex. 5, Chan Decl. ¶ 7.)
14                                   V. CONCLUSION
15
           The United States has met its burden of demonstrating that it is entitled
16
     recover its response costs. For the reasons set forth above, the Court should enter a
17
     ruling that the United States is entitled to recover from the Defendants
18
19   $48,921,628.87 in unrecovered response costs that it incurred in responding to the
20   hazardous substances at the McColl Site from approximately July 1, 1990 through
21   July 31, 2018. The United States will seek to recover additional costs incurred
22
     after July 31, 2018 by stipulation or through further proceedings in this Court. The
23
     United States further seeks $939,708.75 in interest on the amount the Defendants
24
     agreed to pay under the 1994 Consent Decree, as well as the interest that continues
25
26   to accrue on that amount. See supra n.11.
27   Dated: July 10, 2020.
28
                                              25
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 1
                                  Respectfully submitted,
 2
 3                               /s/ William A. Weinischke
                                 WILLIAM A. WEINISCHKE
 4                               Senior Attorney
 5                               Environmental Enforcement Section
                                 Environment & Natural Resources Division
 6
     OF COUNSEL:
 7   MADELINE GALLO
 8   Assistant Regional Counsel
     Environmental Protection Agency
 9   75 Hawthorne Street
10   San Francisco, CA 94105
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